CaSe 17-04699-CL13 Filed 03/08/18 Entered 03/08/18 09223250 DOC 31 PQ. 1 Of 3

CSD 2015 loa/ol/ls]

Name. AddIeSS. Teleph@ne NO. § I.D. NO.
Thomas H. Bi|lings|eal Jr., Chapter 13 Trustee
Kath|een A. Cashman-Kramer [SBN 128861]
401 West "A" Streetl Suite 1680

San Diego, CA 92101

619-233-7525

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF` CALIFORNIA
325 West "F" Street. San Dieg©, Calif©rnia 92101-6991

 

In Re

STEPHEN J. A|\|D SHELLY L. LEW|S
BANKRUPTCY NO. 17-04699-CL13

Del:)cor.

 

 

OBJECTlON TO CLAlM AND NOTlCE THEREOF
TO: Leroy l-lerszman

3972 l-laines Street
San Diego, CA 92109

The [] Trustee l:l Debtoir lzl Chapter 13 Trustee, except to the extent already paid by the Chapter 13 trustee, objects to the allowance of Court

 

 

 

C|aim No. 15-1 , (or if no Court number assigned Trustee C|aim Noi 18 ) of l.erOy HerSZlTian
_ (Name of Creditor)

filed for $ 22,[)(}0_0[) , on the grounds it:

[l Duplicates C|a%m No. filed by

il The claim was filed afterthe expiration of the lest date to file claims

I:l Does not include an itemized statement of the account

E| Does not include a copy ofthe underlying

§ Does not include a copy ofthe security agreement and evidence of perfection

[l Does not include a copy of the writing upon which it is based.

fl Fails to assert grounds for priority.

l-`ozr the following objections attach and serve afhdavits or declarations in accordance with Loca| Bankruptcy Ru|e 9013-7(a)(1):

l:l Appears to include interest or charges accrued atterthe filing of this case on

I:l Other [State grounds and cite applicable Code section or case authority.§:

if you object to the proposed action:

1. YOU ARE REQUIRED to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge assigned to your bankruptcy case

if a Chapter 7 11 or 12 case4 determine which deputy to call by looking at the Banl<ruptcy Case No. in the above caption of this notice. lf the case
number is tol owed Ey the etter:

MM - can (619) 557-7407 - oEPARTivieNT one (Ruom 218)
i_A - call (619) 557-6594 - oEPAaTMENT Tvvo tecum 113)

_ LT _ cali (619)557-6018 - DEPARTMENT THREE iaoom 129)

- Pe - call (619) 55?_5157 - DEPARTMENT FouR (Roum 328)

- ct _ cali (619)557-5019 - oEPAFeTii.iENT i=ive (Room 313)

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2. W|TH|N TH|RTY (30) ‘ DAYS FROM THE DATE OF SERV|CE OF TH|S MOT|ON, you are further required to serve a copy of your DECLARAT|ON
lN OPPOS|T|ON TO MOTlON and separate REQUEST AND NOT|CE OF HEAR|NG [Local Form CSD 1184 2] upon the undersigned moving party,
together with any opposing papers. The opposing declaration must be signed and verified in the manner prescribed by Federal Rule of Bankruptcy

Procedure 9011 , and the declaration must :
a. identifythe interest of the opposing pariy; and
b. state, with pariicularity, the grounds for the opposition.

3. YOU MUST file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service with the Clerk of the U.S.
Bankruptcy Court at 325 West "F" Street, San Diego, Ca|ifornia 92101-6991, no later than the next business day following the date of service.

lF YOU FA|L TO SERVE YOUR "DECLARAT|ON |N OPPOS|T|ON TO lNTENDED ACT|ON" AND "REQUEST AND NOT|CE OF HEARlNG" within
the 30-day‘ period provided by this notice, NO HEARlNG W|LL TAKE PLACE, you will lose your opportunity for hearing. and the debtor or trustee may
proceed to take the intended action.

l hereby declare under penalty of penury that the objection set forth above 's true and to the best of y information and belief.

    
 

DATED: iviarch § ,2013 rsr ain en/A.c shman-Kramer

 

 

Tn.istee [Debtor]
CERT|FlCATE OF SERV|CE
l, the undersigned whose address appears below, oertify:
That l arn. and at all relevant times was, more than 18 years of age;
Tbat on. day of March , 20 13 . l served a true copy ofthis OBJECT|ON TO CLA||V| AND NOT|CE THEREOF,
together with the following pleadings [describe any other papers]:
by idescribe here mode ot service}:
U.S. lVlail, postage pre-paid
on the following persons [set forth name and address of each person served] and/or as checked below:
SEE ATTACHN|ENT TO TH|S OBJECT]ON
|:I For Chpt. 7, 11. & 12 cases: |:] For ODD numbered Chapter 13 cases: I:l For EVEN numbered Chapter 13 cases:
UNlTED STATES TRUSTEE THOMAS H. BlLLlNGSLEA, JR.‘ TRL.|STEE DAV|D L. SKELTON, TRUSTEE
Department of Justice 401 West "A" Street, Sulte 1680 525 "B” Street, Sulte 1430
402 W€St BFOadWay. Suit€ 500 San Diego, CA 92101 San Diego, CA 92101-4507

San Diego, CA 92101

| certify under penalty of perjury that the foregoing is true and correct ' /
t// / - a

E"e°uted °" MarCh y . 2018 /s/ Kath en A. Cashrn n-Kramer
(Date) (Typed Name and Signature)

401 West “A" Street, Sulte 1680
(Address)

San Diego, CA 92101
(City, State, ZlF‘ Code)

1lf you were served electronically or by mail, you have lhree (3) additional days to act as specifed above pursuant to Fed. R. Bankr. P. 9006(f).
2You may obtain Local Form CSD 1184 from the Oftice ofthe Clerk ofthe U.S. Bankruptcy Court.

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Attachment to Notice of Objection to Claim and Notice Thereof
ln re Lewis, Case no. 17-04699-CL13
Re: Claim no. 15-1 filed by Leroy Herszman

Additiona| names and addresses of parties served: (*lndicates served by certified mail, return receipt requested)

Lcroy I-Ierszman
3972 Haines Street l
San Diego, CA 92109 *

Law Ot`t`lces of Michacl H. Weiner, APCZ*
1660 Hotcl Circle North, Suite 302
San Diego, CA 92101

Debtors:

Stephen J. LeWis

Shelly L. LeWiS

3975 Via Palo Vcrde Lago
Alpine, CA 91901

Debtors’ Counsel:

Adam B. Amold

LaW Officcs of Adarn B. Amold
PO Box 19100

San Diego, CA 92159

Oft`ice of the U.S. Trustee:

David Ortiz, Esq.

Oft`lcc of the U.S. Trustec

880 Front St., Third Floor, Suit€ 3230
San Diego, CA 92101

 

1 Address ofthe creditor for payments as shown on proof
of claim #15-1.

2 Address for notice as shown on proof of claim 15-1.

